       Case 1:14-cv-14176-ADB Document 669 Filed 08/16/19 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                             BOSTON DIVISION



STUDENTS FOR FAIR ADMISSIONS, INC.,

                           Plaintiff,

              v.                                Civil Action No. 14-14176 (ADB)

PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                           Defendant.


                   NOTICE OF WITHDRAWAL OF COUNSEL

      Pursuant to Local Rule 83.5.2(c), attorney Andrew R. Varcoe withdraws his

appearance pro hac vice as counsel for amici Economists Michael P. Keane,

Hanming Fang, Yingyao Hu, Glenn C. Loury, John P. Rust, and Matthew S. Shum

in this matter. All other counsel who have entered appearances for these amici will

remain as counsel of record.

Dated: August 16, 2019                       Respectfully submitted,


                                             /s/ Andrew R. Varcoe
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                                             Counsel for Amici Curiae
        Case 1:14-cv-14176-ADB Document 669 Filed 08/16/19 Page 2 of 2



                           CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be

sent electronically to the registered participants as identified on the Notice of

Electronic Filing.

                                               /s/ Andrew R. Varcoe
                                               Andrew R. Varcoe
